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          IN THE UNITED ST ATES DISTRICT COURT
             EASTERN DISTRICT OF ARKANSAS
                    CENTRAL DIVISION

JEREMY CORNELL JONES                                        PLAINTIFF

v.                      No. 4:20-cv-923-DPM

ARKANSAS DEPARTMENT OF
CORRECTION, Pine Bluff Work Complex                      DEFENDANT

                             JUDGMENT
     Jones's complaint is dismissed with prejudice.




                                 D .P. Marshall Jr.
                                 United States District Judge
